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                                                                                             2018 HAY 17
                                                                                                CLERK OF COURT
                                       IN THE SUPERIOR COURT OF GUAM


THE PEOPLE OF GUAM,                                              CRIMINAL CASE NO: CF0544-17

                                       Plaintiff,

                    vs.

                                                                          JUDGMENT OF CONVICTION
                                                                               (GUILTY VERDICT)
ELI CHARFAUROS QUINTANILLA,

                                       Defendant.




Judge: Honorable Elyze M. triarte                                    Verdict Date: April 6, 2018
                                                                     Sentencing Date: May 07, 2018

Prosecuting Attomey: Monica Aguon                                    Defense Attorney: Joaquin Airiola
THE DEFENDANT was found GUIUFY by a juiy ofthe following offense: THEFT OF SERVICES (as a
Third Degree Felony) in violation of9 OCA §§ 43.55(a) and 43.20(b).
Based on the Jury s verdict, a JUDGMENT OF GUHffV is entered for the following offense:'THEFT OF
SERVICES (as a Third Degree Felony).

    I.       IMPRISONMENT

          As to the charge of 1 HEP -T_Qf SERVICES (as a Third Degree PVIony), the Defendant is sentenced
to one hundred fifty (150) days- ol" impnsonmenl at the Department of Corrections, Mangilao, witli credit for
time served, amountiiig to one imndrcd thirty-three (133) days as of May 7, 2018.
    IT.      PAROEF


          As to the charge ol TMEFT OF SERVICES (as a Third Degree Fe(ou>) the Dejcndant is sentenced to
Ihi'ee (3) years of jiarcde with the Pai'ole Services Division
                           '




          Failure of r:'ercndant to follow all conditions of parole may result in sanctions, including impnsomnent,
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                     Case 1:22-cv-00016 Document 1 Filed 07/18/22 Page 5 of 13
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   in.      STANDARD RELEASE CONDITIONS

       In addition to the standard conditions imposed by the Parole Services Division of the Department of
Corrections, the Court recommends the following conditions:

   a. NO FIREARMS: Defendant shall stay away from all firearms, and is not to possess, carry, transfer, or
       use any firearms.

   b. NO FIREARMS: Defendant shall not apply for, possess, or own a firearms identification card.

   c. STAY AWAY FROM VICTIM(S): Defendant shall stay away, directly, and indirectly from Pacific
      Star and shall not contact any employees, owners or customers ofPacific Star by telephone, in writing,
      via emaU or other electronic device, or through a third-party, including a family member or fnend.

   a. STAY AWAY FROM VICTIM(S): Defendant shall not come within five hundred (500)feet of Pacific
       Star, its employees, owners or customers.

   d. COUNSELING/TREATMENT: Defendant shall undergo and successfully complete a theft prevention
       program.


   e. MANDATORY REPORTING: Defendant shall report to the Parole Office once a montli in person, or
       as ordered by the Parole Board.

   f. MANDATORY SEARCHES: Defendant shall pennit parole officers and law enforcement officers to
       search his person, residence, and vehicles for firearms, alcohol, and illegal controlled substances at any
       time such a search is requested. Failure to allow such a search will be considered a violation of parole.

   g. EMPLOYMENT: Defendant shall seek and attempt to maintain full-time legitimate employment, and
      the Parole Office shall monitor Defendant's progress on a monthly basis.

   h. TRAVELING: Defendant shall not leave Guam without the approval of the Court or the Parole Board,
      with prior notice given to the Office ofthe Attorney General, Prosecution Division.

   1. Defendant shall obey all local and federal laws.

   j. Defendant sh;*!) comply witli any court orders entercdi against the Defemianl, including orders offamily
       court or any oilier local or federal court of competent jurisdiction.

   k. Defendant sh.ali compl}' with any other reasonable conditions impo.scd by the Court and the Parole
       Boai d.


  !Y      CRIMIN/. iMONETARY rTCNALTTES AND OTHER CONDmONf;

       hlNE." I he l^ctcndant s'h.ali pay a line of one thousand doll.nrs (S 1,000.00), plus court costs. All or part



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                  Case 1:22-cv-00016 Document 1 Filed 07/18/22 Page 6 of 13                                       321
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                                             0      JUDGMENT                      o                             Page 3



            of the fine imposed may be converted to community service work under the direction ofthe Alternative
            Sentencing Office at the current prevailing minimum wage.

            RESTITUTION: The Defendant shall be jointly and severally liable for restitution to Pacific Star in the
            amount of $547.28. Defendant shall pay said restitution in monthly installments and shall pay it in full
            prior to the termination of his parole. However, in the event restitution is not paid by the expiration of
            parole, the obligation for restitution shall survive.

   • RELEASE FROM IMPRISONMENT: Upon the Defendant's release from the Department of
     Corrections, Mangilao, the Defendant shall be placed on: Parole for three(3) years.

    V.           ADDITIONAL RELEASE CONDITIONS:

            Defendant shall report to the Parole Services Division within forty-eight(48)hours ofrelease from
incarceration for intake and processing.




            SO ORDERED this l(ji4A day of                           2018.




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                                                                        HOrl ELYZE M.IRIARTE
                                                                        Judge,Superior Court of Guam




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                             Case 1:22-cv-00016 Document 1 Filed 07/18/22 Page 7 of 13
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                                                                                  Stephen J. Guerrero
                         GUAM PAROLE BOARD                                        Chairman

                                        Governmeni oj Guam
                                                                                   Una N. B.[McDaniel
                                           P.O. Box 3236
                                                                                   Member
                                       Hagatna. Guam 96932
                                       Tel:(671) 735-4133/34                      June G. Borja
                                        Fax:(671) 734-4490                         Member


                                                                                  John Q. Lizama
                                                                                   Member

                           IS KeVoV^'l?

IN THE MATTER OF ALLEGED                              ORDER OF THE BOARD
PAROLE VIOLATION OF:                                  REVOKING PAROLE

ELI C. QUINTANILLA                                    Case No.(s)^0544-li^CF0532-I7:
                                                                CF0486-15


Parolee



WHEREAS,on August 23. 2019, Parolee Eli C. Quintanilla was placed on parole, with a discharge date
of August 22, 2022.

WHEREAS,on January 20. 2022, Parolee Eli C. Quintanilla was issued a Violation Report for violating
the following parole conditions:


                     Condition                    Commit No Crime

                     Condition                    Monthly Check-In
                     Condition                    Associating with Known Felons


WHEREAS, on February 21, 2022, Parolee Eli C. Quintanilla was served a copy of, but refused to sign
and acknowledge the Procedural Due Process Rights served by the Parole Services Division; and

WHEREAS, on February 21, 2022 Parolee Eli C. Quintanilla was served a copy of, but refused to sign
and acknowledge the Notice to Appear before the Guam Parole Board for a Preliminary Revocation
Hearing served by the Parole Services Division; and

WHEREAS, the Guam Parole Board met on February 24, 2022, but recessed, and reconvened on
February 25, 2022; and

WHEREAS, on February 25, 2022, Parolee Eli C. Quintanilla appeared before the Guam Parole Board
via video/teleconference for a Preliminary Revocation Hearing. Present for the Board were Chairman
Stephen J. Guerrero and members LinaN. B. McDaniel and June G. Borja; and

WHEREAS,on February 25, 2022, Parolee Eli C. Qu-ntanilla's Procedural Due Process Rights was read
to him by Member LinaN.B. McDaniel, however, O'lrolee still refused to sign or verbally acknowledge
his Procedural Due Process Rights when asked if Understood them as they were read to him; and

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Guam Parole Board
Order ofthe Board Revoking Parole
Ref: QUINTANILLA, Eli C.
Page 2




WHEREAS, the Board reviewed evidence presented b}' the Parole Officer; and

WHEREAS, the parolee pled NO POSITION to violating Condition 4 and NOT GUILTY to violating
Conditions 2, and 6; and

WHEREAS,the Board inquired if Parolee Eli C. Quinhinilla would like a continuance of his preliminary
revocation hearing to prepare for his defense due to his NOT GUILTY plea. However, Parolee Eli C.
Quintanilla did not want to sign a waiver form for a continuance, but verbally requested to proceed to
the Final Hearing; and

WHEREAS, the Guam Parole Board, having heard this matter as required by law, accepts Parolee Eli C.
Quintanilla's plea of NO POSITION to violating Condition 4 as made volunteirily and without coercion
or promise of favor; and

NOW THEREFORE, based on the Parolee's previous plea and findings in the Violation Report, the
Guam Parole Board as provided by law, finds the parolee GUILTY of violating Condition 4 and orders
the parole of Eli C. Quintanilla REVOKED.

FURTHERMORE,that Parolee Eli C. Quintanilla be placed at the Adult Correctional Facility to serve
the remainder of his parole tenure offive (5) months and twenty-six (26) days. The Board recommends
that inmate seek and attend any forensic program that is available at the Adult Correctional Facility.



SO ORDERED this 25^^* day ofFebruary 2022



                                                         FOR THE GUAM PAROLE BOARD




                                                         STEPHEN J. GUERRERO
                                                         Chairman




    MAF
ATTESTED:



  SEAL


DISTRIBUTION: Original PSD / ACF / DTSD / GPB / Inmate



                  Case 1:22-cv-00016 Document 1 Filed 07/18/22 Page 9 of 13
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6                                   IN THE DISTRICT COURT OF GUAM

7
      ELI CHARFAUROS QUINTANILLA,                         CIVIL CASE NO.22-00012
8
                    [Petitioner],                                            If- -
9

             vs.
10

      SUPERIOR COURT OF GUAM,                                               ORDER
11
      HONORABLE JUDGE ELYZE M.
      miARTE; APPOINTED COUNSEL,
12
      ATTORNEY JAY ARRIOLA; and
      ATTORNEY GENERAL,
13

                    [Respondents].
14

15

16          On May 11,2022,Eli Charfauros Quintanilla,herein referred to as the Petitioner,sent a filing

17   to the court that appears to seek an "appeal" of his criminal conviction in the Superior Court of

18   Guam. The procedural posture of the Superior Court of Guam case is unclear, and the court is

19   uncertain whether the Petitioner intends to pursue an appeal or a petition for writ ofhabeas corpus

20
     under 28 U.S.C. § 2254.' The Petitioner is proceeding pro se, and the court cannot provide him

21   with legal advice.

22          If the Defendant seeks to file a petition that challenges his local conviction based on a

23   violation ofthe Constitution or laws or treaties ofthe United States,then the court's Habeas Corpus

24   Local Rules require that the Petitioner file said petition on the form approved by the court. See

25   HCLR 2. The court orders the Clerk's Office to send the Petitioner AO Forms 240 and 241 along

26

27
           'Out ofan abundance ofcaution,the court orders the Clerk's OfiSce to open the filing as a
28   civil case, nunc pro tune to the May 11, 2022.



                   Case l:22-cv-00012 Document 2 Filed 05/18/22 Page 1 of 2
                   Case 1:22-cv-00016 Document 1 Filed 07/18/22 Page 10 of 13
with a copy of this Order. If the Petitioner desires to pursue a petition for writ of habeas corpus
under 28 U.S.C. § 2254, then he must complete said forms and retum them to the court. The
Petitioner is warned that generally a 2254 federal habeas petition must be filed within one year after
a conviction becomes final.

        On the other hand, if the Petitioner seeks an appeal of his conviction, this court does not
handle direct appeals from the Superior Court of Guam. The Petitioner should instead seek relief
from the Supreme Court of Guam.^
        The court further notes that the top of the caption on the Petitioner's filing reads "In the
United States Court of Appeals for the Ninth Circuit." If the Petitioner wants his filing to be filed
with the Ninth Circuit instead of the District Court of Guam, then he must file it with the Ninth

Circuit directly.^
        IT IS SO ORDERED.
                                                               )/s/Michael J. Bordallo
                                                                       U.S. Magistrate Judge
                                                                    Dated: May 18,2022




           The address for the Supreme Court of Guam is

                Supreme Court of Guam
                Ste 300 Guam Judicial Center
                120 West O'Brien Drive
                Hagatna, Guam 96910-5174

          The address for the Ninth Circuit Court of Appeals is

                Office of the Clerk
                James R. Browning Courthouse
                U.S. Court of Appeals
                P.O. Box 193939
                San Francisco, CA 94119-3939




              Case l:22-cv-00012 Document 2 Filed 05/18/22 Page 2 of 2
             Case 1:22-cv-00016 Document 1 Filed 07/18/22 Page 11 of 13
                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                                 P.O. Box 193939
                                 95 Seventh Street
                         San Francisco, CA 94119-3939



                                   June 22,2022

Eli C. Quintanilia
Dept. of Corrections Guam
P.O. Box 3236
Hagatna, GU 96932

Dear Mr. Quintanilia:

       We received your recent correspondence to the court. The documents did
not include a case number, and we were unable to find any relevant cases pending
in our court. The correspondence also did not claim to be a new petition over
which this court has jurisdiction, and we have found no basis to treat it as a new
petition. We are therefore returning the correspondence to you.

      For any future communications with the court, please be aware:

      All communications should be addressed to the Clerk and not to specific
judges. See 9th Cir. R. 25-2.

       All filings must include this court's case number on the first page, or clearly
state the filing is a new petition within this court's jurisdiction.

       This court's jurisdiction is defined by federal statute. The court cannot
review state court decisions. The court can decide appeals from final orders and
certain interlocutory orders ofthe Ninth Circuit's federal district courts and
Bankruptcy Appellate Panel. The court can also decide petitions for review or
enforcement of orders by various federal agencies, and certain petitions for writs of
mandamus and prohibition.

      The court's rules and procedures can be found at www.ca9.uscourts.gov.

      Sample forms can be found at http://www.ca9.uscourts.gov/forms.


          Case 1:22-cv-00016 Document 1 Filed 07/18/22 Page 12 of 13
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      A pro se application for authorization to file a second or successive 28
U.S.C. § 2254 l^abeas petition or § 2255 motion must include Form 12, available at
http://cdn.ca9.uscourts.gov/datastore/uploads/forms/form 12.pdf.

      Instructions for filing a judicial misconduct complaint are available at
https://www.ca9.uscourts.gov/misconduct/guidelines/

      The court is unable to accept filings that are not written in English.


                                                    Sincerely,


                                                     Monica Fernandez
                                                     Deputy Clerk




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